Case 4:07-cr-00080-MSD-FBS Document 33 Filed 10/24/07 Page 1 of 2 PageID# 78



                                                                                            l.v rv".; ■•    • • -.>r
                            IN THE      UNITED   STATES      DISTRICT       COURT
                           FOR THE      EASTERN DISTRICT            OF VIRGINIA
                                        Newport News Division                                        24

                                                                                     CLtRK, U.S. DISTRICT COURT
                                                                                            NORFOLK. VA

UNITED      STATES         OF AMERICA,


v.                                                        CRIMINAL       NO.     4:07cr80


 SHARON RILES,


                  Defendant.




                                      REPORT AND      RECOMMENDATION
                                      CONCERNING      PLEA    OF    GUILTY


         The Defendant,               by consent,     has appeared before me pursuant to


 Federal     Rule of            Criminal   Procedure         11,    and referral      from a United


 States District Judge,                  and has entered a plea of guilty to Count                                1


 of   the   Indictment.               After   cautioning           and examining      the Defendant

 under oath concerning each of                    the subjects mentioned in Rule                           11,    I


 determined           that      the   guilty plea      was     knowledgeable         and voluntary,


 and that      the offense             charged is      supported by an independent basis

 in   fact     establishing              each    of    the     essential         elements       of          such


 offense.         I therefore recommend that the plea of guilty be accepted


 and that the Defendant be adjudged guilty and have sentence imposed


 accordingly.


         Failure           to    file     written      objections           to   this    Report              and

 Recommendation              within     ten    (10)   days    from    the    date   of   its      service


 shall      bar       an     aggrieved        party    from        attacking      such   Report              and


 Recommendation              before     the   assigned       United     States      District         Judge.

 28   U.S.C.      §   636(b)(1)(B).
Case 4:07-cr-00080-MSD-FBS Document 33 Filed 10/24/07 Page 2 of 2 PageID# 79




                                          UNITED   STATES   MAGISTRATE   JUDGE


Norfolk,   Virginia


 October "Z-L\ , 2007
